               Case 1:20-cv-03029-CJN Document 10 Filed 12/08/21 Page 1 of 1
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                        summons and complaint             registered mail, return receipt requested
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